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Case 2

NIFL'S ATTORNEYS' FEES & COSTS AS OF 9-17-07

Program Invoice Total
Generating | Bill-through-Date| Invoice Number Total Hours Hourly Fees Expenses Invoice Total . :
é Confirmation
Invoice

Timeslips 7/31/2001 15770 26.9 3,016.00 500.00] $ 3,516.00 3516
Timeslips 9/30/2001 16019 50.75 6,151.25 2,984.20) $ 9,135.45 9135.45
Timeslips 41/30/2001 16502 29.8 3,285.02 886.73] $ 4,171.75 4171.75
Timeslips 1/31/2002 16809 8.8 968.00 821.23] $ 1,789.23 1789.23
Timeslips 3/31/2002 16989 43.8 5,097.00 150.00] $ 5,247.00 5247
Timeslips 5/31/2002 17556 21.95 2,622.29 0.00] $ 2,622.29 2622.29
Timeslips 7/31/2002 17867 1.85 374.03 0.00} $ 374.03 374.03
Timeslips 11/30/2002 18335 15.6 2,352.91 60.20! $ 2,413.11 2413.11
Timeslips 11/30/2002 18532 1.3 195.00 0.00] $ 195.00 195
Timeslips 1/31/2003 18900 1 150.00 0.00] $ 150.00 150
Timeslips 3/31/2003 19651 0.4 60.00 0.00] $ 60.00 60
Timeslips 5/31/2003 20209 2.5 376.75 0.00) $ 376.75 376.75
PC-Law 7/31/2003 2903 28.2 4,230.00 113.00] $ 4,343.00 4343
PC-Law 9/30/2003 3235 3.7 555.00 15.00| $ 570.00 570
PC-Law 11/3/2003 3254 0 0.00 884.73] $ 884.73 884.73
PC-Law 11/30/2003 3341 22.45 3,158.25 640.00) $ 3,798.25 3798.25
PC-Law 3/30/2004 5103 34.6 4,775.00 50.00] $ 4,825.00 4825
PC-Law 5/31/2004 5497 46.3 6,002.50 15.00| $ 6,017.50 6017.5
PC-Law 7/31/2004 5803 1.6 225.00 0.00] $ 225.00 225
PC-Law 9/30/2004 7199 0.2 25.00 0.00] $ 25.00 25
PC-Law 11/30/2004 7355 0.9 112.50 0.00] $ 112.50 112.5
PC-Law 1/31/2005 7590 0.7 95.00 0.00} $ 95.00 95
PC-Law 3/30/2005 7894 0.4 58.00 0.00) $ 58.00 58
PC-Law 5/31/2005 8147 1.3 175.50 0.00] $ 175.50 175.5
PC-Law 7/31/2005 8627 19.7 2,816.50 81.72| § 2,898.22 2898.22
PC-Law 9/30/2005 8813 12.35 1,730.00 14.06] $ 1,744.06 1744.06
PC-Law 11/20/2005 9265 43.4 4,095.50 669.56] 3 4,765.06 4765.06
PC-Law 1/31/2006 9476 179.2 16,995.50 825.59] $ 17,821.09 17821.09
PC-Law 3/31/2006 9756 360.15 43,895.75 6,384.18] $ 50,279.93 50279.93
PC-Law 4/30/2006 9930 0 0.00 5,171.88] $ 5,171.88 5171.88
PC-Law 5/31/2006 10133 116.6 9,320.00 7.15| $ 9,327.15 9327.15
PC-Law 7/31/2006 10738 179.3 416,196.50 404.82] $ 46,601.32 | |  16601.32
PC-Law 9/31/2006 10863 43.9 5,714.00 82.25| $ 5,796.25 5796.25
PC-Law 11/31/2006 11352 62 8,320.00 178.50| $ 8,498.50 8498.5
PC-Law 4/31/2007 11564 3.4 480.00 131.20] $ 611.20 611.2
PC-Law 3/31/2007 11988 127.65 14,654.25 98.78] $ 14,753.03 14753.03
PC-Law 7/31/2007 12760 293.6 38,201.00 3,654.12] $ 41,855.12 41855.12
PC-Law 9/16/2007 Unbilled 16.7 2,229.50 22.00| $ 2,251.50 2251.5
| COLUMN TOTALS: | 4802.95] $208,708.50 $24,845.90} $233,554.40] 233554.4|

